                          UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION


In re:                                                       Chapter 11

NEW WEI, INC., et al., 1                                     Case No. 15-02741-TOM11

                                   Debtors.                  Jointly Administered



                                                    ORDER

         Upon consideration of the motion (the “Motion”) 2 of New WEI, Inc. and its

affiliated debtors and debtors-in-possession (each a “Debtor” and, collectively, the

“Debtors”) pursuant to section 1112 of title 11 of the U.S. Code (the “Bankruptcy Code”) and

rules 1017 and 1019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

for the entry of an order (A) converting the above-captioned chapter 11 cases (the “Chapter 11

Cases”) to cases under chapter 7 of the Bankruptcy Code (the “Chapter 7 Cases”), and

(B) granting related relief; and it appearing that this Court has jurisdiction to consider the

Motion pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that venue of these cases

and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it


1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
    are: New WEI, Inc. (f/k/a Walter Energy, Inc.) (9953); Atlantic Development and Capital, LLC (8121); Atlantic
    Leaseco, LLC (5308); Blue Creek Coal Sales, Inc. (6986); Blue Creek Energy, Inc. (0986); New WEI 7, Inc.
    (f/k/a J.W. Walter, Inc.) (0648); Jefferson Warrior Railroad Company, Inc. (3200); New WEI 2, LLC (f/k/a Jim
    Walter Homes, LLC) (4589); New WEI 13, Inc. (f/k/a Jim Walter Resources, Inc.) (1186); Maple Coal Co.,
    LLC (6791); Sloss-Sheffield Steel & Iron Company (4884); SP Machine, Inc. (9945); Taft Coal Sales &
    Associates, Inc. (8731); Tuscaloosa Resources, Inc. (4869); V Manufacturing Company (9790); New WEI 19,
    LLC (f/k/a Walter Black Warrior Basin LLC) (5973); New WEI 18, Inc. (f/k/a Walter Coke, Inc.) (9791); New
    WEI 22, LLC (f/k/a Walter Energy Holdings, LLC) (1596); New WEI 20, LLC (f/k/a Walter Exploration &
    Production LLC) (5786); New WEI 1, Inc. (f/k/a Walter Home Improvement, Inc.) (1633); New WEI 6
    Company (f/k/a Walter Land Company) (7709); New WEI 16, Inc. (f/k/a Walter Minerals, Inc.) (9714); and
    New WEI 21, LLC (f/k/a Walter Natural Gas, LLC) (1198). The location of the Debtors’ corporate
    headquarters is 2100 Southbridge Parkway, Suite 650, Birmingham, Alabama 35209.
2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.




Case 15-02741-TOM7              Doc 2893 Filed 02/02/17 Entered 02/02/17 15:39:37                           Desc
                                   Main Document    Page 1 of 9
appearing that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and it

appearing that adequate and proper notice of the Motion has been given and that no other

or further notice need be given; and having considered the objection of the United States of

America (the “Objection”) to the Motion [Dkt. No. 2849] and arguments of counsel in

support thereof; and the Court having found and determined that the professionals serving

in the Chapter 11 Cases, including the professionals for the Debtors, the Creditors

Committee (and each of its members) and the 1114 Committee (and each of its members),

have acted in good faith and in the best interest of the estates, and that each of the

members of the Creditors Committee and the 1114 Committee have faithfully discharged

their duties under the Bankruptcy Code in good faith; that the objectives of the Chapter 11

Cases have been accomplished; and that the relief sought in the Motion is in the best

interests of the Debtors, their estates and all parties in interest; and after due deliberation

and sufficient cause appearing therefor; it is hereby ORDERED, ADJUDGED and

DECREED that:

       1.     The Motion is GRANTED as set forth herein.

       2.     The Objection is overruled.

       3.     The Chapter 11 Cases shall be converted to cases under Chapter 7 of the

Bankruptcy Code on February 21, 2017 (the “Conversion Date”).

       4.     The Debtors are authorized to pay from the Wind Down Trust Assets, prior to the

Conversion Date, the DFR Retainer and the KCC Retainer.

       5.      On the Conversion Date, the Wind Down Trustee shall remit any remaining

Wind Down Trust Assets to the chapter 7 trustee.

       6.     The following Conversion Procedures are hereby approved:




Case 15-02741-TOM7         Doc 2893 Filed 02/02/17 Entered 02/02/17 15:39:37               Desc
                              Main Document    Page 2 of 9
          a.    Professional Fees. To the extent professionals retained in the Chapter 11
                Cases have not already submitted Final Fee Applications to the Court, all
                professionals (excluding professionals retained in the ordinary course of
                business pursuant to the Order Authorizing the Debtors to Retain, Employ,
                and Compensate Certain Professionals Utilized in the Ordinary Course of
                Business [Docket No. 507]), shall submit Final Fee Applications in
                accordance with the Bankruptcy Code, Bankruptcy Rules, Local Rules,
                and orders of this Court by no later than March 21, 2017 (the “Final Fee
                Application Deadline”). The Court will schedule a hearing, in the Court’s
                convenience, on such Final Fee Applications on or before April 28, 2017.
                The Debtors anticipate that Final Fee Applications for most professionals
                retained in these Chapter 11 Cases will have been filed, heard, and paid
                from the Wind Down Trust Assets, to the extent approved by the Court,
                prior to the Conversion Date. With respect to Final Fee Applications filed
                after the Conversion Date in accordance with the Conversion Procedures,
                to the extent the Court approves a Final Fee Application: (i) within ten
                (10) business days after entry of such order, all approved amounts owed
                for professional fees and expenses incurred after March 31, 2016 shall be
                paid (x) first, from each professional’s retainer to the extent such retainers
                exist; and (y) thereafter, from the chapter 7 estates. To the extent that the
                Final Fee Application filed by KPMG, as tax, valuation, and accounting
                advisors for the Debtors, covers work performed for the Debtors for the
                benefit of Warrior Met Coal in accordance with the terms of the
                Additional Engagement letter filed with the Court on September 1, 2016,
                approved amounts owing to KPMG shall be paid by Warrior Met Coal.
                The Interim Compensation Order [Dkt. No. 650] shall remain in full force
                and effect with respect to Monthly Fee Applications for fees and expenses
                incurred prior to the Conversion Date, and professionals with retainers are
                authorized to pay amounts requested in said Monthly Fee Applications
                from their retainers, in accordance with the Interim Compensation Order.

          b.    Fee Examiner. The Debtors are authorized to pay the Fee Examiner a
                retainer in the amount of $25,000 to cover post-conversion services by the
                Fee Examiner through April 28, 2017 in reviewing the Final Fee
                Applications of chapter 11 professionals (the “DFR Retainer”). Upon
                entry of an order authorizing the Final Fee Applications, the engagement
                of the Fee Examiner appointed in these Chapter 11 Cases will be
                immediately terminated, with no further action required by the Debtors or
                the Court. The Fee Examiner shall submit his Final Fee Application
                within 30 days of Court approval of the Final Fee Applications, and the
                Fee Examiner’s allowed fees and expenses shall be paid from the DFR
                Retainer, with any balance remaining on the DFR Retainer after approval
                and payment of the Fee Examiner’s final fee application to be remitted to
                the chapter 7 trustee.

          c.    Claims Agent. The Claims Agent shall continue to be employed post-
                conversion through April 28, 2017. The Claims Agent will be paid for its




Case 15-02741-TOM7   Doc 2893 Filed 02/02/17 Entered 02/02/17 15:39:37                  Desc
                        Main Document    Page 3 of 9
                work after the Conversion Date (i) first, from its retainer in the amount of
                $46,320.00 (the “KCC Retainer”), and (ii) second, from a supplemental
                retainer in the amount of $100,000 that the Debtors are authorized to pay
                prior to the Conversion Daye (the “Supplemental KCC Retainer”). The
                KCC Retainer and the Supplemental KCC Retainer shall cover post-
                conversion services provided by the Claims Agent through April 28, 2017,
                including service of the notice of conversion, maintaining the case
                website, service of pleadings filed post-conversion, maintaining the claims
                register, and working with the clerk’s office to transfer claims and noticing
                information to the Court in a form and manner acceptable to the clerk’s
                office. After April 28, 2017, the chapter 7 trustee will determine whether,
                and to what extent, to continue to employ the Claims Agent. Any balance
                remaining on the Supplemental KCC Retainer on April 28, 2017 shall be
                remitted to the chapter 7 trustee, except to the extent that the chapter 7
                trustee seeks Court authority to retain the Claims Agent for additional
                time.

          d.    Statutory Committees.        On the Conversion Date, the Creditors
                Committee and the Section 1114 Committee shall be immediately
                dissolved, and all professionals retained by the Creditors Committee and
                the Section 1114 Committee shall be immediately discharged, with no
                further action required by the Debtors, the Creditors Committee or the
                Section 1114 Committee.

          e.    Wind Down Trust. The Wind Down Trust Agreement and the Wind
                Down Trust shall not terminate until the Conversion Date (the
                “Termination Date”). On the Termination Date, or as soon as reasonably
                practicable thereafter, the Wind Down Trustee shall remit the remaining
                Wind Down Trust Assets to the chapter 7 trustee appointed in the Chapter
                7 Cases. The Wind Down Trustee shall be terminated as soon as the
                remaining Wind Down Trust assets are remitted to the chapter 7 trustee.

          f.    Books and Records. As soon as reasonably practicable, but in no event
                more than fourteen days after the assumption of duties by the chapter 7
                trustee, the Debtors shall turn over to the chapter 7 trustee the books and
                records of the Debtors in the Debtors’ possession and control, as required
                by Bankruptcy Rule 1019(4). For purposes hereof, the Debtors may
                provide copies (including electronic copies) of such books and records to
                the chapter 7 trustee or instructions for locating and accessing such books
                and records, and may retain copies of such books and records to the extent
                necessary to complete the reports required herein.

          g.    Reconciliation and Accounting. Within thirty (30) days of the
                Conversion Date, the Debtors shall provide the chapter 7 trustee with a
                reconciliation of the Wind Down Trust, Professional Fee Escrow, and
                Debtors’ remaining bank accounts summarizing: (a) the payments and
                disbursements made therefrom, (b) to whom such payments and




Case 15-02741-TOM7   Doc 2893 Filed 02/02/17 Entered 02/02/17 15:39:37                 Desc
                        Main Document    Page 4 of 9
                      disbursements were made, (c) on which dates, and (d) for which purposes.
                      The Debtors will also similarly summarize any receipts received into the
                      Wind Down Trust, Professional Fee Escrow, or Debtors’ remaining bank
                      accounts.

               h.     Schedule of Unpaid Debts.            Within fourteen (14) days of the
                      Conversion Date, the Debtors shall file a schedule of unpaid debts
                      incurred after commencement of the Chapter 11 Cases, including the name
                      and address of each creditor, as required by Bankruptcy Rule 1019(5).

               i.     Final Report. Within thirty (30) days after the Conversion Date, the
                      Debtors shall file and transmit to the Bankruptcy Administrator a final
                      report and account (the “Final Report”) in accordance with Bankruptcy
                      Rule 1019(5)(A).

               j.     Claims. Upon request of the chapter 7 trustee, the Claims Agent shall
                      (i) forward to the Clerk of this Court an electronic version of all imaged
                      claims; (ii) upload the creditor mailing list into CM/ECF; (iii) docket a
                      final, combined claims register in the lead Walter Energy case containing
                      claims in all the Debtors’ cases; and (iv) as soon as reasonably practicable,
                      box and transport all original claims in the manner and to the place
                      reasonably requested by the Clerk of this Court.

               k.     Notice of Conversion. Within seven (7) days of filing the schedule of
                      unpaid debts, as set forth in paragraph (i) above, the Claims Agent shall
                      serve a notice of conversion, substantially in the form of Exhibit 1 to this
                      Order (the “Notice of Conversion”), on all parties on the Debtors’ creditor
                      matrix and any creditors identified in the schedule of unpaid debts.

               l.     Administrative Claims Bar Date. Any party claiming an administrative
                      expense claim pursuant to sections 503 or 507 of the Bankruptcy Code
                      arising after commencement of the Chapter 11 Cases and before the
                      Conversion Date, shall file a request for allowance of such claims on or
                      before April 28, 2017 (the “Chapter 11 Administrative Claims Bar Date”).
                      Notice of the Chapter 11 Administrative Claims Bar Date shall be
                      included in the Notice of Conversion. Claims for payment of professional
                      fees and reimbursement of expenses by professionals employed by the
                      estates are not subject to the Chapter 11 Administrative Claims Bar Date,
                      but shall be made in accordance with subparagraph (a) herein.


       7.      Prior to the Conversion Date, the Debtors shall pay the final quarterly fee for the

partial first quarter of 2017 through the Conversion Date.




Case 15-02741-TOM7         Doc 2893 Filed 02/02/17 Entered 02/02/17 15:39:37                 Desc
                              Main Document    Page 5 of 9
       8.     The chapter 7 trustee appointed in the Debtors’ cases shall comply in all respects

with the Debtors’ obligations under the Warrior Met Coal APA and the order of this Court dated

January 8, 2016 approving the Core Assets Sale and shall immediately upon receipt turn over to

Warrior Met Coal any assets which constitute Acquired Assets (as defined in the Warrior Met

Coal APA), including cash.

       9.     The chapter 7 trustee appointed in the Debtors’ cases shall comply in all respects

with the Debtors’ obligations under the Seminole APA and the order of this Court dated

February 8, 2016 approving the Non-Core Assets Sale and shall immediately upon receipt turn

over to Seminole any assets which constitute Acquired Assets (as defined in the Seminole APA),

including cash.


Dated: February 2, 2017                                   /s/ Tamara O. Mitchell
                                                          TAMARA O. MITCHELL
                                                          United States Bankruptcy Judge




Case 15-02741-TOM7        Doc 2893 Filed 02/02/17 Entered 02/02/17 15:39:37               Desc
                             Main Document    Page 6 of 9
                                EXHIBIT 1
                         NOTICE OF CONVERSION




Case 15-02741-TOM7   Doc 2893 Filed 02/02/17 Entered 02/02/17 15:39:37   Desc
                        Main Document    Page 7 of 9
                          UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION


In re:                                                       Chapter 11

NEW WEI, INC., et al., 1                                     Case No. 15-02741-TOM11

                                   Debtors.                  Jointly Administered



                         NOTICE OF CONVERSION AND CHAPTER 11
                           ADMINISTRATIVE CLAIMS BAR DATE

         PLEASE TAKE NOTICE that on January 9, 2017, the Debtors filed the Debtors’

Motion for an Order (A) Converting the Debtors’ Chapter 11 Cases to Chapter 7 and (B)

Granting Related Relief [Docket No. ____] (the “Conversion Motion”).

         PLEASE TAKE FURTHER NOTICE that on January __, 2017 the Court entered an

Order granting the Conversion Motion [Docket No. ____] (the “Conversion Order”). 2

         PLEASE TAKE FURTHER NOTICE that under the Conversion Order, the Chapter 11

Cases were converted to cases under chapter 7 of the Bankruptcy Code effective February 14,

2017.



1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
    are: New WEI, Inc. (f/k/a Walter Energy, Inc.) (9953); Atlantic Development and Capital, LLC (8121); Atlantic
    Leaseco, LLC (5308); Blue Creek Coal Sales, Inc. (6986); Blue Creek Energy, Inc. (0986); New WEI 7, Inc.
    (f/k/a J.W. Walter, Inc.) (0648); Jefferson Warrior Railroad Company, Inc. (3200); New WEI 2, LLC (f/k/a Jim
    Walter Homes, LLC) (4589); New WEI 13, Inc. (f/k/a Jim Walter Resources, Inc.) (1186); Maple Coal Co.,
    LLC (6791); Sloss-Sheffield Steel & Iron Company (4884); SP Machine, Inc. (9945); Taft Coal Sales &
    Associates, Inc. (8731); Tuscaloosa Resources, Inc. (4869); V Manufacturing Company (9790); New WEI 19,
    LLC (f/k/a Walter Black Warrior Basin LLC) (5973); New WEI 18, Inc. (f/k/a Walter Coke, Inc.) (9791); New
    WEI 22, LLC (f/k/a Walter Energy Holdings, LLC) (1596); New WEI 20, LLC (f/k/a Walter Exploration &
    Production LLC) (5786); New WEI 1, Inc. (f/k/a Walter Home Improvement, Inc.) (1633); New WEI 6
    Company (f/k/a Walter Land Company) (7709); New WEI 16, Inc. (f/k/a Walter Minerals, Inc.) (9714); and
    New WEI 21, LLC (f/k/a Walter Natural Gas, LLC) (1198). The location of the Debtors’ corporate
    headquarters is 2100 Southbridge Parkway, Suite 650, Birmingham, Alabama 35209.
2
    Terms not defined herein shall have the meaning ascribed to them in the Conversion Order.




Case 15-02741-TOM7              Doc 2893 Filed 02/02/17 Entered 02/02/17 15:39:37                           Desc
                                   Main Document    Page 8 of 9
       PLEASE TAKE FURTHER NOTICE that any party claiming an administrative

expense claim pursuant to sections 503 or 507 of the Bankruptcy Code arising after

commencement of the Chapter 11 Cases and before the Conversion Date, shall file a request for

allowance of such claims on or before April 28, 2017 (the “Chapter 11 Administrative Claims

Bar Date”).



Dated: _____________, 2017         BRADLEY ARANT BOULT CUMMINGS LLP
       Birmingham, Alabama         One Federal Place
                                   1819 Fifth Avenue North
                                   Birmingham, Alabama 35203
                                   Telephone: (205) 521-8000

                                   - and -

                                   PAUL, WEISS, RIFKIND, WHARTON &
                                   GARRISON LLP
                                   1285 Avenue of the Americas
                                   New York, New York 10019
                                   Telephone: (212) 373-3000

                                   Counsel to the Debtors and
                                   Debtors-in-Possession




Case 15-02741-TOM7        Doc 2893 Filed 02/02/17 Entered 02/02/17 15:39:37            Desc
                             Main Document    Page 9 of 9
